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PROB 124
(7/93)
United States District Court
for
District of New Jersey
Report on Offender Under Supervision
Name of Offender: Brett Pickett Cr.: 11-00644-001

PACTS #: 61354

Name of Sentencing Judicial Officer: THE HONORABLE ANNE E. THOMPSON
SENIOR UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 01/06/2012

Original Offense: Failure to Register as a Sex Offender, in violation of 18 U.S.C. 2250(a), a Class C
felony

Original Sentence: 10 months imprisonment, 120 months supervised release

Special Conditions: Substance Abuse Testing, Alcohol Treatment, Drug Treatment, Computer/Internet
Restrictions, Mental Health Treatment, Polygraph Examination, Sex Offender Registration, Special
Assessment, Financial Disclosure, Reentry Center-Full-Time, Search/Seizure, No Contact with Minors, .
Reentry Center-Full-Time, Sex Offender Assessment, Employment Requirements/Restrictions

Type of Supervision: Supervised Release Date Supervision Commenced: 03/12/2012
NONCOMPLIANCE SUMMARY
The offender has not complied with the following condition of supervision:

Violation Number Nature of Noncompliance

One On September 24, 2020, Brett Pickett (Pickett) underwent a polygraph
examination per his special conditions of supervised release. Deception was
detected in relation to questions posed to Pickett regarding his: 1) possession
of child pornography; 2) viewing of child pornography; and 3) having
unauthorized contact with a minor.

U.S. Probation Officer Action:

Immediately following Pickett’s polygraph examination, he was interviewed by Senior United States
Probation Officer Elizabeth Villa. Pickett denied possessing any child pornography, viewing any child
pornography or having any unauthorized contact with a minor. On October 1, 2020, the undersigned
officer interviewed Pickett at the halfway house regarding his failed polygraph examination. Pickett
denied having accessed any child pornography or having contact with minors. He stated that because he
is residing at the halfway house, it is impossible for him to have contact with a minor or possess any illicit
materials. Notably, regular examinations of Pickett’s cellular phone while he has been on supervised
release have revealed no illicit materials. Pickett was advised that he should continue to discuss his failed
polygraph with his sex offender treatment counselor, Dr. Samaroo. Pickett believes that he just always
gets nervous during testing which is why he always fails. As Your Honor is aware, Pickett has failed his
polygraph examinations in the past.
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Brett Pickett

The failed polygraph exam was discussed with Pickett’s counselor, Dr. Samaroo, who noted that,
generally, when Pickett is depressed, he tends to engage in self-destructive behaviors. Additionally,
Pickett's issues appear to be more situational, and he is not currently exhibiting any symptoms of
depression/helplessness. As such, Dr. Samaroo does not consider Pickett to be at risk of reoffending at
the present time.

The Probation Office has no direct evidence to support that Pickett has viewed/possessed child
pornography or has had contact with any minors unsupervised. As Your Honor is aware, since his latest
release from custody, Pickett has resided at the halfway house, where his belongings and possessions are
regularly examined. Additionally, Picket has only been allowed to leave the halfway house to attend sex
offender treatment sessions, medical appointments, and for employment purposes. Based on the above,
the Probation Office is requesting that no action be taken at this time. We will continue to closely
monitor Pickett’s activities and behavior, and should any further information regarding non-compliance
be received, the Court will be notified immediately.

Respectfully submitted,

SUSAN M. SMALLEY, Chief
U.S. Probation Officer

Yoh L, Amauza
By: JOHNL. ALMANZA
Senior U.S. Probation Officer

/jla

APPROVED:

Sharon O'Crien October 19, 2020

SHARON O'BRIEN Date
Supervising U.S. Probation Officer

 

 

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

F/ No Formal Court Action to be Taken at This Time
l Submit a Request for Modifying the Conditions or Term of Supervision
[~ Submit a Request for Warrant or Summons

I Other

   

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Signature of Judicial Officer

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Date
